                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                            SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )       No. 11-05020-14-CR-SW-RED
                                                    )
LORI KENT,                                          )
                                                    )
                          Defendant.                )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count Fourteen of

the Superseding Indictment filed on August 24, 2011, is now Accepted and the Defendant is

Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the Court.




                                                     s/ Richard E. Dorr
                                                               RICHARD E. DORR
                                                    UNITED STATES DISTRICT JUDGE




Date: February 12, 2013




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